                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATE OF AMERICA,                           *
EX REL KRAH PLUNKERT, et al,
                                                   *
               Plaintiffs,                                    CASE NO.       SAG-19-3375
                                                   *
               v.                                             FILED UNDER SEAL
                                                   *
MARYLAND BROADBAND
COOPERATIVE, et al.                                *

               Defendants.                         *

                                                   *
*      *       *       *       *       *       *       *      *       *       *       *       *

    STATE OF MARYLAND’S NOTICE OF ELECTION TO DECLINE TO INTERVENE

       This case was filed pursuant to the qui tam provisions of the Maryland False Claims Act.

Md. Code Ann. Gen. Prov. §§ 8-101 through 8-111. The qui tam provisions of the Act allow a

whistleblower to file suit on the State’s behalf. Md. Code Ann., Gen. Prov. § 8-104(a). The Act

requires the State to notify the Court whether it wishes to intervene and proceed with litigating

the case or to decline to intervene. Id. §8-104(a)(6). If the State “does not elect to intervene and

proceed with the action . . . , before unsealing the complaint, the court shall dismiss the action.”

Md. Code Ann., Gen. Prov. § 8-104(a)(7).

       The State of Maryland hereby notifies the Court that it will not intervene in this action.

In accordance with the False Claims Act, the State requests that all claims asserted on behalf of

the State of Maryland be dismissed without prejudice.

       WHEREFORE the State of Maryland requests that this case be dismissed without

prejudice. A proposed order is attached.
                                             Respectfully submitted,

                                             ANTONTHY G. BROWN
                                             Attorney General


                                             /s/Shelly Marie Martin
                                             By: Shelly Marie Martin
                                             Assistant Attorney General
                                             200 St. Paul Place
                                             16th Floor
                                             Baltimore, Maryland 21202-2020
                                             410-576-6522 (Phone)
                                             410-576-6566 (Fax)
                                             smartin@oag.state.md.us
                                             Bar No. 26637


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of April, 2023, the foregoing State of Maryland’s

Notice of Election to Decline to Intervene was served first class mail, postage prepaid on:

       Jay P. Holland                                Kelly M. Marzullo
       Joseph, Greenwald & Laake, P.A.               Assistant United States Attorney
       6404 Ivy Lane, Suite 400                      36 South Charles Street, 4th Floor
       Greenbelt, Maryland 20770                     Baltimore, Maryland 21201
                                                     Counsel for the United States
       Robin R. Cockey
       Ashely A. Broché
       Cockey, Brennan & Maloney, P.C.
       313 Lemmon Hill Lane
       Salisbury, Maryland 21801
       Counsel for Relator


       Pursuant to the False Claims Act, Md. Code Ann., Gen. Prov. § 8-104(a)(3)(ii), (a)(4)
and (a)(5), this Motion was not served on the Defendants.



                                                     /s/Shelly Marie Martin
                                                     Shelly Marie Martin




                                           Page 2 of 2
